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10
      Attorneys for Plaintiff
11    UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14    UNITED STATES OF AMERICA,               No. CR 22-394(A)-DMG

15               Plaintiff,                   EX PARTE APPLICATION FOR MODIFIED
                                              PROTECTIVE ORDER REGARDING
16               v.                           DISCOVERY

17 YASIEL PUIG VALDES,                        PROPOSED MODIFIED PROTECTIVE
                                              ORDER FILED SEPARATELY
18               Defendant.

19

20

21          Plaintiff United States of America, by and through its counsel

22    of record, the United States Attorney for the Central District of

23    California and Assistant United States Attorneys Jeff Mitchell and

24    Dan Boyle, for the reasons set forth below, hereby moves this Court

25    Ex Parte requesting that the Court modify and amend the protective

26    order in this action (ECF 44, the “Protective Order”) pursuant to

27    Federal Rule of Criminal Procedure Rule 16(d)(1), in the form

28    accompanying this application.
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 1          Introduction and Grounds for Protective Order

 2          1.   On December 6, 2022, in an effort to expedite discovery,

 3    the government proposed to produce all discovery in this matter

 4    pursuant to a protective order.       Defendant opposed this proposal,

 5    and requested prompt production of as much discovery as the

 6    government could produce without a protective order in place.

 7    (Exhibit A.)    The government acceded to defendant’s request and

 8    began producing limited discovery without a protective order in

 9    place.

10          2.   The parties were unable to agree on the breadth of a

11    proposed protective order, and the government filed an ex parte

12    application for a protective order.        The government’s application

13    incorporated many of defendant’s requests, including allowing

14    defendant’s personal agents and personal attorneys access to the

15    confidential discovery.      (ECF 35.)

16          3.   On December 21, 2022, the Court issued the Protective

17    Order, which directed that only discovery in certain narrowly-

18    defined categories could be designated as confidential and subject

19    to the Protective Order.      (ECF 44.)    The Court’s Protective Order

20    allowed defendant’s personal agents and personal attorneys access to

21    the confidential discovery.      (Id.)

22          4.   The Protective Order did not allow the government to

23    designate as confidential the names of clients of Wayne Nix’s sports

24    betting business.

25          5.   As a result, the government produced to defendant

26    documents including law enforcement reports identifying the names of

27    Nix’s gambling clients, certain of whom were high-profile athletes

28

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 1    and celebrities.     With one exception,1 none of these clients have

 2    been charged for any conduct relating to their dealings with Nix,

 3    and the government has not publicly disclosed their identities.

 4          6.   On February 10, 2023, defendant filed a discovery motion

 5    alleging selective prosecution.       (ECF 59.)    In his motion, defendant

 6    identified two of Nix’s high-profile gambling clients as the

 7    “Prominent Black Athlete” and the “Black Manager of a prominent

 8    Black Athlete.”    (Id. at 4-5.)     Defendant noted that the Protective

 9    Order did not apply to these two individuals:

10          Notably, there were only a handful of interview reports that
            the government did not produce under seal, and the unprotected
11
            reports include the reports of the interview of Puig, the Black
12          athlete (who is a public figure), and the Black manager
            discussed below. Even post-indictment, the Black men apparently
13          are not worthy of the same level of respect as the non-Black
            interviewees. Nevertheless, the defense has provided them to
14          the Court under seal with the protected interview reports.
            (Id. at 4 n.2)
15

16          7.   On April 10, 2023, the Court denied defendant’s selective
17    prosecution motion.     (ECF 106.)
18          8.   On November 28, 2023, the government received an email
19    from a reporter at the Washington Post who stated that he had
20    reviewed law enforcement reports from the Nix investigation, and he
21    believed that, based on these reports, he knew the identities of the
22    two individuals referenced above in defendant’s selective
23    prosecution motion.     The reporter indicated that he intended to
24

25

26
           1 Nix’s business manager, who was also an occasional gambling
27    client of Nix’s, has pled guilty to an information in Case No. 2:23-
      cr-00284-DMG charging him with one count of violating 18 U.S.C.
28    § 1001 (false statements).

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 1    publish a story and publicly reveal these individuals’ identities

 2    and requested comment from the government. (Exhibit B.)

 3          9.    For these reasons, the government believes it is

 4    appropriate to modify and expand the Protective Order to permit the

 5    retroactive designation of the identities of Nix’s clients, and

 6    associated identifying information, as confidential.          The government

 7    also seeks to limit access to the confidential information to

 8    defendant and the defense team and exclude access to defendant’s

 9    personal agents and personal attorneys.

10          10.   To be clear, the government is not seeking to prohibit or

11    otherwise enjoin any reporting about this case through the proposed

12    modified protective order. However, pursuant to both the Justice

13    Manual and binding Ninth Circuit precedent, the government is

14    obligated to avoid accusing individuals of wrongdoing who have not

15    been charged by the Grand Jury. See, e.g, United States v. Chadwick,

16    556 F.2d 450, 450 (9th Cir. 1977) (holding that identifying

17    uncharged participants in an illegal gambling business in pleadings

18    “was beyond the authority of the grand jury and a denial of due

19    process” and expunging uncharged individuals names from pleadings).

20    While the government does not know how law enforcement reports

21    identifying Nix’s clients ended up in the hands of members of the

22    press, the functional effect is the same as if these individuals

23    were named in a pleading despite not having been charged with any

24    offense, and they should not be tried in the court of public

25    opinion.    While the government cannot – and does not seek to – stop

26    the Washington Post from publicly revealing the identities of these

27    individuals, the government’s application is intended to prevent

28    further dissemination of the identities of other Nix clients.

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 1    Because of the prominence of some of these clients, and because

 2    these individuals have not been charged with any offence and thus

 3    cannot defend themselves in court, these individuals may suffer

 4    adverse reputational and economic consequences if their identities

 5    are revealed.

 6          11.   The government requested defendant’s position on this

 7    application, and defense counsel advised that defendant opposes the

 8    instant application to modify the Protective Order.          Defense counsel

 9    stated that they believe the government is seeking to modify the

10    protective order because they believe the forthcoming article will

11    be critical of the government’s prosecution of defendant.           Defense

12    counsel stated that they believe “[t]he government apparently has no

13    issue with media attention in this case, unless it is critical of

14    the government.”2

15          12.   The government disagrees with defendant’s position, and

16    has asked that defendant file a full opposition.

17          Proposed Modifications to the Protective Order

18          13.   The government proposes the following modified definition

19    section in the Protective Order (ECF 44, ¶ 4), with modifications in

20    bolded and underlined text:

21                a.   As used herein, “PII Materials” includes any

22    information that can be used to identify a person, including a name,

23    address, date of birth, Social Security number, driver’s license

24    number, telephone number, account number, email address, or personal

25    identification number.

26

27         2 To be clear, the government has no knowledge of whether or not
      the Washington Post’s reporting will be critical of the government
28    beyond the information disclosed in Exhibit B.

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 1                 b.   “Confidential Information” refers to any document or

 2    information containing PII Materials; proprietary or confidential

 3    business and financial information of third-parties; the identity of

 4    cooperating individuals; the identity of all uncharged clients or

 5    associates of Wayne Nix; wiretap material; or information involving

 6    nonpublic criminal, civil, and regulatory investigations that the

 7    government produces to the defense pursuant to this Protective Order

 8    and any copies thereof.

 9                 c.   “Defense Team” includes (1) defendant’s counsel of

10    record (“defense counsel”); (2) other attorneys at defense counsel’s

11    law firm who may be consulted regarding case strategy in this case;

12    (3) defense investigators who are assisting defense counsel with

13    this case or other consultants retained by the defense team;

14    (4) retained experts or potential experts; and (5) paralegals, legal

15    assistants, and other support staff to defense counsel who are

16    providing assistance on this case.         The Defense Team does not

17    include defendant or his sports agent, personal agents, or personal

18    attorneys, defendant’s family members, or any other associates of

19    defendant.

20          14.    The government proposes the following modified terms to

21    the Protective Order (ECF 44, ¶ 4(d-r)):

22                 a.   The government is authorized to retroactively label

23    previously produced discovery as confidential and subject to the

24    Protective Order. Any retroactively designated Confidential

25    Information shall be treated in accordance with the terms of this

26    order.

27                 b.   If the government retroactively labels previously

28    produced discovery as confidential and subject to the Protective

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 1    Order, defendant, his personal agents, and personal attorneys shall

 2    return all copies of such retroactively-designated discovery to the

 3    Defense Team and identify to the Defense Team all individuals who

 4    had access to the Confidential Information.

 5                 c.   The government is authorized to provide defense

 6    counsel with Confidential Information marked with the following

 7    legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

 8    ORDER.”   Except for previously produced discovery, each document

 9    containing Confidential Information shall be marked with this

10    legend.   For digital materials/ESI, the government may put that

11    legend on the digital medium (such as DVD or hard drive) or simply

12    label a digital folder on the digital medium to cover the content of

13    that digital folder.     The government may also redact any PII

14    contained in the production of Confidential Information.

15                 d.   If defendant objects to a designation that material

16    contains Confidential Information, the parties shall meet and

17    confer.   In addition to potentially de-designating the materials,

18    the government shall consider whether the material can be produced

19    in a redacted form such that it would not need to be considered

20    Confidential. If the parties cannot reach an agreement regarding

21    defendant’s objection, defendant may apply to the Court to have the

22    designation removed.

23                 e.   Defendant and the Defense Team shall use the

24    Confidential Information solely to prepare for any pretrial motions,

25    plea negotiations, trial, and sentencing hearing in this case, as

26    well as any appellate and post-conviction proceedings related to

27    this case.

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 1                 f.   The Defense Team shall not permit anyone other than

 2    the Defense Team to have possession of Confidential Information,

 3    including defendant, while outside the presence of the Defense Team.

 4                 g.   At no time, under no circumstance, will any

 5    Confidential Information be left in the possession, custody, or

 6    control of defendant and/or his sports agent, personal agents, or

 7    personal attorneys, regardless of defendant’s custody status.

 8                 h.   Defendant may review Confidential Information only in

 9    the presence of a member of the Defense Team, who shall ensure that

10    defendant and his personal Agents or attorneys are never left alone

11    with any Confidential Information. At the conclusion of any meeting

12    with defendant at which defendant is permitted to view Confidential

13    Information, defendant must return any Confidential Information to

14    the Defense Team, and a member of the Defense Team present shall

15    take all such materials with him or her. Defendant may not take any

16    Confidential Information out of the room in which defendant is

17    meeting with the Defense Team.

18                 i.   Defendant may see and review Confidential Information

19    as permitted by this Protective Order, but defendant may not copy,

20    keep, maintain, or otherwise possess any Confidential Information in

21    this case at any time. Defendant also may not write down or

22    memorialize any data or information contained in the Confidential

23    Information.

24                 j.   The Defense Team may review Confidential Information

25    with a witness or potential witness in this case, including

26    defendant.    A member of the Defense Team must be present if

27    Confidential Information is being shown to a witness or potential

28    witness.   Before being shown any portion of Confidential

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 1    Information, however, any witness or potential witness must be

 2    informed of, and agree in writing to be bound by, the requirements

 3    of the Protective Order.      No member of the Defense Team shall permit

 4    a witness or potential witness to retain Confidential Information or

 5    any notes generated from Confidential Information.

 6               k.    The Defense Team shall maintain Confidential

 7    Information safely and securely, and shall exercise reasonable care

 8    in ensuring the confidentiality of those materials by (1) not

 9    permitting anyone other than members of the Defense Team, defendant,

10    witnesses, and potential witnesses, as restricted above, to see

11    Confidential Information; (2) not divulging to anyone other than

12    members of the Defense Team, defendant, witnesses, and potential

13    witnesses, the contents of Confidential Information; and (3) not

14    permitting Confidential Information to be outside the Defense Team’s

15    offices, homes, vehicles, or personal presence.

16               l.    To the extent that defendant, the Defense Team,

17    witnesses, or potential witnesses create notes that contain, in

18    whole or in part, Confidential Information, or to the extent that

19    copies are made for authorized use by members of the Defense Team,

20    such notes, copies, or reproductions become Confidential Information

21    subject to the Protective Order and must be handled in accordance

22    with the terms of the Protective Order.

23               m.    The Defense Team shall use Confidential Information

24    only for the litigation of this matter and for no other purpose.

25    Litigation of this matter includes any appeal filed by defendant and

26    any motion filed by defendant pursuant to 28 U.S.C. § 2255.            In the

27    event that a party needs to file Confidential Information with the

28    Court or divulge the contents of Confidential Information in court

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 1    filings, the filing should be made under seal in accordance with the

 2    Court’s Criminal Motion and Trial Order [Doc. # 28 at 2] and Judge

 3    Gee’s specific procedures for sealed filings in criminal cases.             If

 4    the Court rejects the request to file such information under seal,

 5    the party seeking to file such information publicly shall provide

 6    advance written notice to the other party to afford such party an

 7    opportunity to object or otherwise respond to such intention.            If

 8    the other party does not object to the proposed filing, the party

 9    seeking to file such information shall redact any Confidential

10    Information and make all reasonable attempts to limit the divulging

11    of Confidential Information.

12                n.    Any Confidential Information inadvertently produced

13    in the course of discovery prior to entry of the Protective Order

14    shall be subject to the terms of the Protective Order.           If

15    Confidential Information was inadvertently produced prior to entry

16    of the Protective Order without being marked “CONFIDENTIAL

17    INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

18    shall reproduce the material with the correct designation and notify

19    defense counsel of the error.       The Defense Team shall take immediate

20    steps to destroy the unmarked material, including any copies.

21                o.    Confidential Information shall not be used by the

22    defendant, or the Defense Team, in any way, in any other matter,

23    absent an order by this Court. All materials designated subject to

24    the Protective Order maintained in the Defense Team’s files shall

25    remain subject to the Protective Order unless and until such order

26    is modified by this Court. Within 30 days of the conclusion of

27    appellate and post-conviction proceedings, defense counsel shall

28    return all Confidential Information, certify that such materials

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 1    have been destroyed, or certify that such materials are being kept

 2    pursuant to the California Business and Professions Code and the

 3    California Rules of Professional Conduct.

 4                p.    In the event that there is a substitution of counsel

 5    prior to when such documents must be returned, new defense counsel

 6    must be informed of, and agree in writing to be bound by, the

 7    requirements of the Protective Order before the undersigned defense

 8    counsel transfers any Confidential Information to the new defense

 9    counsel. New defense counsel’s written agreement to be bound by the

10    terms of the Protective Order must be returned to the Assistant U.S.

11    Attorney assigned to the case. New defense counsel then will become

12    the Defense Team’s custodian of materials designated subject to the

13    Protective Order and shall then become responsible, upon the

14    conclusion of appellate and post-conviction proceedings, for

15    returning to the government, certifying the destruction of, or

16    retaining pursuant to the California Business and Professions Code

17    and the California Rules of Professional Conduct all Confidential

18    Information.

19                q.    Defense counsel shall advise defendant, and all

20    members of the Defense Team of their obligations under the

21    Protective Order, including the terms of this modified Protective

22    Order, and ensure their agreement to follow the Protective Order,

23    prior to providing defendant, and members of the Defense Team with

24    access to any materials subject to the Protective Order.

25    //

26    //

27    //

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 1          15.   Accordingly, the government requests that the Court enter

 2    a protective order in the form submitted herewith.

 3

 4    DATED: November 29, 2023                 E. MARTIN ESTRADA
                                               United States Attorney
 5
                                               MACK E. JENKINS
 6
                                               Assistant United States Attorney
 7                                             Chief, Criminal Division

 8
                                               ___/S/ Jeff Mitchell____________
 9                                             JEFF MITCHELL
                                               DAN G. BOYLE
10                                             Assistant United States Attorneys
11
                                               Attorneys for Plaintiff
12                                             UNITED STATES OF AMERICA

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                            EXHIBIT A
     Case 2:22-cr-00394-DMG Document 172 Filed 11/29/23 Page 14 of 16 Page ID #:1659


Mitchell, Jeff (USACAC) 5

From:                Keri Axel <kaxel@waymakerlaw.com>
Sent:                Wednesday, December 7, 2022 2:52 PM
To:                  Mitchell, Jeff (USACAC) 5; Boyle, Daniel (USACAC)
Cc:                  Jose Nuño
Subject:             [EXTERNAL] RE: Stip re First Trial Date.pdf


Thanks, Jeff. This is a helpful summary. We are going to review the protective order in detail in light of these
categories. I think we are going to need as much of what we can get without a protective order (and we would need
appropriate redactions for trial in any event). So I would ask you to start working on the redactions for the information
that you have indicated can be redacted.

Can we schedule a time to meet and confer tomorrow or Friday as to the other categories of things and the form of the
proposed protective order? I’m mostly available before noon both days.

Thank you. Best, Keri

Keri Curtis Axel
Waymaker LLP
m +1 213 314 5284

*******************************************************************
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*******************************************************************
From: Mitchell, Jeff (USACAC) 5 <Jeff.Mitchell@usdoj.gov>
Sent: Tuesday, December 6, 2022 10:15 AM
To: Keri Axel <kaxel@waymakerlaw.com>; Boyle, Daniel (USACAC) <Daniel.Boyle2@usdoj.gov>
Cc: Jose Nuño <jnuno@waymakerlaw.com>
Subject: RE: Stip re First Trial Date.pdf

Hi Keri. As I indicated in my November 29th email, we proposed producing everything under the protective order in
order to expedite the discovery to you. Because of the unusual procedural history here, we want to find a way to get
the discovery to you as quickly as possible. I believe the timing of the discovery here is particularly important because
you’ve indicated you may want a February trial date, and we’re now moving in the holiday season and most of our staff
typically take off a lot of time in December. We assumed the protective order was acceptable to you when you didn’t
reply and raise any objections. If you prefer, we’re happy to provide some of the discovery without a protective order,
but it’s going to require significant time to redact PII, cooperators, and case numbers. Further, we will not produce
some of the discovery without a protective order, e.g., computer forensics, sensitive third party records, materials
related to ongoing investigations, etc.

Below is a general summary of the discovery and our tentative position on production:
    
    
    
    
    
                                                             1
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                            EXHIBIT B
     Case 2:22-cr-00394-DMG Document 172 Filed 11/29/23 Page 16 of 16 Page ID #:1661


Mitchell, Jeff (USACAC) 5

From:                                     <                                      >
Sent:                Tuesday, November 28, 2023 9:21 AM
To:                  Mitchell, Jeff (USACAC) 5
Subject:             [EXTERNAL] Washington Post story -                     /


Mr. Mitchell,

I’m a reporter for the Washington Post. I’ve been working on a couple of stories involving the Wayne Nix gambling
enterprise and related cases.

The most immediate story will reveal, using law enforcement records that I reviewed, that                       admitted
betting on NBA games. It will also show that             was an admitted client of Nix’s.

The articles will link those names to your public filing in Yasiel Puig’s case, in which you responded to Puig’s attorneys’
claims that he was the victim of selective prosecution because he is Black.

Those filings were notable in that you stated that         and       made false statements. In        ’s case, you wrote
that he was “in fact not being truthful” during an interview where he was admonished about the 1001 interview and
asked multiple times whether he was telling the truth. Information about the identities of these interview subjects raises
questions about decision‐making by prosecutors as to who should be charged in this case.

In your filing, you also compare Puig’s interview with that of “Player R,” writing that among the differences was that
Player R “did not affirmatively disregard” the 1001 admonition, which Puig did by interrupting the agent reading it to
him and telling him that he was wasting Puig’s time. How much did Puig doing that play a role in him ultimately being
charged?

I’d need a response by noon tomorrow, and I am available at the number below if you would like to speak.


Washington Post




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